

















	



IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1296-13






DROMICO ANDREE WASHINGTON, Appellant



v.



THE STATE OF TEXAS






ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS 


BELL COUNTY






	Per curiam.


O P I N I O N 




	Appellant was charged with burglary of a habitation.  The trial court denied his
request for a jury charge on criminal trespass.  A jury convicted Appellant of burglary and
assessed punishment at 15 years in prison.

	On appeal, Appellant argued that the trial court erred in denying his requested jury
instruction on criminal trespass.  The Court of Appeals agreed, finding that trespass was a
lesser-included offense of burglary in this case.  Washington v. State, No. 03-11-00428-CR,
2013 Tex. App. LEXIS 10903 (Tex. App. - Austin August 29, 2013) (not designated for
publication). 

	The State has filed a petition for discretionary review arguing that trespass is not a
lesser-included offense of burglary.  In State v. Meru, 414 S.W.3d 159 (2013), this Court held 
that, as a general rule, criminal trespass will not be a lesser-included offense of burglary of
a habitation because trespass requires proof of greater intrusion than burglary.  However,
trespass may qualify as a lesser-included offense if "the indictment alleges facts that include
the full-body entry into the habitation by the defendant."  Id.

	The Court of Appeals did not have the benefit of Meru when it issued its opinion. 
Accordingly, we grant the State's petition for discretionary review, vacate the judgment of
the Court of Appeals, and remand this case to the that court in light of Meru. 


DATE DELIVERED:  March 19, 2014 	 


DO NOT PUBLISH


